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                                                                                                      ~-
EEOC Form 161 (11116)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                       .        .
                                                DISMlSSAL AND NOTJCE OF RIGHTS
To:    Peter Catina                                                                    Prom:    Philadelphia District Office
       341 Honey Locust Square                                                                  801 Market Street
       Lancaster, PA 17602                                                                      Suite 1300
                                                                                                Philadelphia, PA 19107



      D                     On behalf ofperson(&} aggrieved whose fdentity is
                            CONFIDENnAL (29 CFR §1601.T(a})
EEOC Charg& No                                 EEOC Representative                                                     Telephone No.
                                               Legal Unit,
530-2017-01432                                 Legal Technician                                                        (215} 440·2828
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D          The facts alleged in the dlarge fall to state a claim under any of the statutes enforced by the EEOC.

      D          '(our allegations d.id not invol\10 a disability as defined by the Americans With Disabilities Act.

      D          The Respon$nt ernploys less than the required number of employees or is not otherwise covered by the statutes.

      D          Your d·farge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 d.iscnmination to file your Charge
                 The EEOC issues the folloWing 1'.!etermination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes~ This does not certify that the respondent is ln compliance With
                 the statutes. ~o finding Is made as to.any other issues that might be construed 8$ having been raised by this.rcharge.

      D          The EEOC has :adopted the findlngs of the state or local fafr employment practices agency that investigated this charge.

      D          Other fbrtefty state)


                                                         • NOTICE OF SUlT RIGHTS •
                                                   (See .the additional information .attachedJo this form.)

Title Vfl1 the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimfoation in Employment Act: This wm be the only notice of dismissal and of your right to sue that we wilf send you.
You may Tile a lawsuit againstthe respondent(s} under federal law based on this charge in federa1 or state court. Your
lawsuit must be filed Wlt'HIN 90 DA~S of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be d"rl'ferent.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.



 Enclosures(&)                                                                                                                 Date Mailed)
                                                 Spencer H. Lewis, Jr.,
                                                    District Director
ce          Pennsylvania State System of Higher Education
            Andrew C. Lehman, Chief Counsel (for Respondent)
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 EEOC Form 151-B (11118)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
To:     Peter Catina                                                                  From:    Philadelphia District Office
        347 Honey Locust Square                                                                801 Market Street
        Lancaster, PA 17602                                                                    Suite 1300
                                                                                               Philadelphfa, PA 19107




       D          On behalf of person(s) aggrieved whos. ldentlty Is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.


 530-2018-01508                                          Legal Unit                                                    (215) 440-2828
                                                                                   (See also the additional information enclosed with this form.)
NOTICE TO THI! PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This ls your Notice of Right to Sue, Issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       [!]        More than 180 days have passed since the filing of this charge.

       D          Less than 180 days have passed since the filing of this charge, but I have detennlned that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
       [!]        The EEOC is terminating its processing of this charge.
       D          The EEOC will continue to process this charge.
Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       [K]        The EEOC Is closing your case. Therefore, your lawsuit under the ADEA must be flied In federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       D          The EEOC is continuing its handrmg of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years C3 vears) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission



 Enclosures(s)                                                         ~w
                                                                       1Tli8R:W1n1amson,                                      (Date Malled)

                                                                       District Director

 cc:           Joseph M. Miller                                                       Matthew Dempsky
               University Legal Counsel                                               KM&A
               PENNSYLVANIA STATE SYSTEM OF HIGHER EDUCATION                          1828 JFK BLVD, Ste 1650
               Dixon University Center                                                Philadelphia, PA 19103
               2988 North 2nd Street
               Harrisburg, PA 17110
